      Case 7:15-cv-00223 Document 9 Filed in TXSD on 02/16/16 Page 1 of 1
                                                                                   United States District Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                                                                                        February 16, 2016
                           UNITED STATES DISTRICT COURT
                                                                                        David J. Bradley, Clerk
                            SOUTHERN DISTRICT OF TEXAS
                                MCALLEN DIVISION

JORGE GUTIERREZ, et al,                          §
                                                 §
         Plaintiffs,                             §
VS.                                              §   CIVIL ACTION NO. 7:15-CV-223
                                                 §
ALLSTATE TEXAS LLOYDS,                           §
                                                 §
         Defendant.                              §

                       ORDER ON STIPULATION OF DISMISSAL

       After considering the parties’ stipulation of dismissal, the Court

       GRANTS the stipulation and dismisses Plaintiffs, Jorge Gutierrez, Jr. and Irene

Gutierrez’s claims asserted against Defendant, Allstate Texas Lloyds, with prejudice.

        IT IS FURTHER ORDERED ADJUDGED AND DECREED that Court costs will

 be paid by the party incurring same.

       SO ORDERED this 16th day of February, 2016, at McAllen, Texas.


                                                 ___________________________________
                                                 Randy Crane
                                                 United States District Judge




1/1
